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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

CHANDRA CATES and KELLY STUART,
individually and as representatives of a
class of participants and beneficiaries of the
                                                  Civil Action No. 16-cv-6524
Retirement Plan for Officers of Columbia
University, and the Columbia University           COMPLAINT—CLASS ACTION
Voluntary Retirement Savings Plan,
                                                  JURY TRIAL DEMANDED
                           Plaintiffs,
v.

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK (better known as COLUMBIA
UNIVERSITY), JEFFREY SCOTT,
LUCINDA DURNING, LOUIS
BELLARDINE, WILLIAM L. INNES,
BARBARA HOUGH, AND DIANE L.
KENNEY,

                           Defendants.

                                    COMPLAINT

      1.     Plaintiffs Chandra Cates and Kelly Stuart, individually and as

representatives of a class of participants and beneficiaries of the Retirement Plan

for Officers of Columbia University and the Columbia University Voluntary

Retirement Savings Plan (collectively “Plans”), brings this action under 29 U.S.C.

§1132(a)(2) and (3) on behalf of the Plans against Defendants the Trustees of

Columbia University in the City of New York (better known as Columbia
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University), Jeffrey Scott, Lucinda Durning, Louis Bellardine, William L. Innes,

Barbara Hough, and Dianne L. Kenney for breach of fiduciary duties under ERISA.1

         2.    The duties of loyalty and prudence are the “highest known to the law”

and require fiduciaries to act with “an eye single to the interests of the participants

and beneficiaries.” Donovan v. Bierwirth, 680 F.2d 263, 271, 272 n.8 (2d Cir. 1982).

As fiduciaries to the Plans, Defendants are obligated to act for the exclusive benefit

of participants and beneficiaries and to ensure that Plan expenses are reasonable

and the Plans’ investments are prudent.

         3.    The marketplace for retirement plan services is established and

competitive. Billion-dollar-defined contribution plans, like the Plans, have

tremendous bargaining power to demand low-cost administrative and investment

management services. Instead of using the Plans’ bargaining power to benefit

participants and beneficiaries, Defendants allowed unreasonable expenses to be

charged to participants for administration of the Plans, and retained investments

with excessive costs and poor performance compared to available alternatives.

         4.    To remedy these fiduciary breaches, Plaintiffs, individually and as

representatives of a class of participants and beneficiaries of the Plans, bring this

action on behalf of the Plans under 29 U.S.C. §1132(a)(2) and (3) to enforce

Defendants’ personal liability under 29 U.S.C. §1109(a) to make good to the Plans

all losses resulting from each breach of fiduciary duty and to restore to the Plans

any profits made through Defendants’ use of the Plans’ assets. In addition,



 1   The Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461.
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Plaintiffs seek such other equitable or remedial relief for the Plans as the Court

may deem appropriate.

                          JURISDICTION AND VENUE

      5.     This Court has exclusive jurisdiction over the subject matter of this

action under 29 U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it is an action

under 29 U.S.C. §1132(a)(2) and (3).

      6.     This District is the proper venue for this action under 29 U.S.C.

§1132(e)(2) and 28 U.S.C. §1391(b) because it is the district in which the subject

Plans are administered, where at least one of the alleged breaches took place, and

where at least one of the Defendants resides.

                                       PARTIES

                                       The Plans

      7.     Columbia University maintains the “Columbia University Retirement

Savings Program” to provide retirement income benefits for its faculty and other

officers. The Program consists of two plans: the Retirement Plan for Officers of

Columbia University (“Officers Plan”), and the Columbia University Voluntary

Retirement Savings Plan (“VRSP”).

      8.     The Plans are defined contribution, individual account, employee

pension benefit plans under 29 U.S.C. §1002(2)(A) and §1002(34). In a defined-

contribution plan, the retirement benefit that an employee receives is limited to the

value of the employee’s individual account, which depends upon contributions to the

plan, the performance of the funds in which the employee invests, and the fees and

expenses charged to the account. The Plans are of the type commonly referred to as
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“403(b) plans,” which refers to the section of the Internal Revenue Code governing

the taxation of such plans, 26 U.S.C. §403(b).

      9.     The Officers Plan is funded by contributions made on employees’

behalf by Columbia University, while the VRSP is funded by the employees’ own

elective contributions. As of December 31, 2014, the Officers Plan had over $2.8

billion in net assets, while the VRSP had over $1.8 billion in net assets. Each Plan

is in the top 1% of all defined contribution plans in the United States based on asset

size. Plans of such great size are commonly referred to as “jumbo plans.”

      10.    Upon information and belief, there is significant overlap between the

individuals who participate in the Plans. As of December 31, 2014, the Officers’

Plan had 27,309 participants with account balances; approximately 20,000 of those

participants also had an account balance in the VRSP.

                                     Plaintiffs

      11.    Chandra Cates resides in New York, New York. She is a participant in

the Plans under 29 U.S.C. §1002(7) because she and her beneficiaries are eligible to

receive benefits under the Plans. She has been a participant in the Plans since

approximately 2008.

      12.    Kelly Stuart resides in Brooklyn, New York. She is a participant in the

Plans under 29 U.S.C. §1002(7) because she and her beneficiaries are eligible to

receive benefits under the Plans. She has been a participant in the Plans since

approximately 2001.




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                                    Defendants

       13.    Columbia University is an independent, privately supported,

nonsectarian institution of higher education, with its main campus in New York,

New York. It is a non-profit New York corporation, and its official corporate name is

“The Trustees of Columbia University in the City of New York.” Columbia

University is the plan sponsor under 29 U.S.C. §1002(16)(B).

       14.    Columbia University’s Vice President for Human Resources is the

Plans’ administrator under 29 U.S.C. §1002(16)(A)(i) and named fiduciary under

§1102(a) with the authority to control and manage the operation and administration

of the Plans. Since 2010, Jeffrey Scott, Lucinda Durning, Louis Bellardine, William

L. Innes, Barbara Hough, and Diane L. Kenney have served in that role.

       15.    Columbia University is a fiduciary to the Plans because it hired and

appointed the Plan Administrator and named fiduciary of the Plans. Moreover,

acting through its Board of Trustees and as described in more detail below,

Columbia University exercised discretionary authority or discretionary control

respecting the management of the Plans or exercised authority or control respecting

the management or disposition of its assets, including by contracting with the

Plans’ recordkeepers and investment providers, and has discretionary authority or

discretionary responsibility in the administration of the Plans. 29 U.S.C.

§1002(21)(A)(i) and (iii).




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                       FACTS APPLICABLE TO ALL COUNTS

   I.         Plan investments

        16.     Columbia University makes core contributions to the Officers’ Plan on

behalf of eligible employees, and employees have the option of contributing a

percentage of their pay to the VRSP. Core contributions are made regardless of

whether the employee contributes to the VRSP. Columbia University also matches

certain VRSP contributions up to a specified percentage. The matching

contributions are made to the Officers’ Plan.

        17.     Participants elect how to allocate these contributions by selecting from

a menu of Plan investment options. Defendants exercise exclusive authority and

control over the available options. Defendants are responsible for selecting the

Plans’ investment options, reviewing and monitoring those options, and

determining whether each option should be retained or removed from the Plans.

        18.     Both Plans have offered an identical investment menu, which

currently includes 116 investment options. These options include fixed dollar

annuities issued by the Teachers’ Insurance Annuity Association (“TIAA”), the

TIAA Real Estate Account, various College Retirement Equities Fund (“CREF”)

variable annuities, and various registered investment companies (i.e., mutual

funds) offered by TIAA-CREF, Vanguard Fiduciary Trust Company, and Calvert

Trust Company.

        19.     Many of the Plans’ mutual funds offer multiple share classes. The

share classes are identical in nearly all respects. They invest in the same portfolio of

securities and provide identical investment management; the only difference
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between the share classes is cost. “Retail” shares are designed for small individual

investors and charge much higher fees, resulting in lower net investment returns.

“Institutional” shares are designed for investors with a large amount of assets to

invest, such as multi-billion dollar retirement plans. As explained more fully in Part

III, Defendants selected dozens of mutual funds in higher cost share classes for the

Plans even though identical lower-cost versions of the same funds were available.

      20.    The TIAA Traditional Annuity offered in both Plans is a fixed annuity

contract that returns a contractually specified minimum interest rate. Assets

invested in the TIAA Traditional Annuity are held in the general account of

Teachers Insurance and Annuity Association of America and are dependent on the

claims-paying ability of Teachers Insurance and Annuity Association of America.

      21.    The TIAA Traditional Annuity has severe restrictions and penalties for

withdrawal if participants wish to change their investments in the Plans. For

example, some participants who invest in the TIAA Traditional Annuity must pay a

2.5% surrender charge if they withdraw their investment in a single lump sum

within 120 days of termination of employment. Participants who wish to withdraw

their savings without penalty can only do so by spreading the withdrawal over a

ten-year period.

      22.    Both Plans include eight CREF variable annuity accounts: CREF Stock

Account, CREF Equity Index Account, CREF Growth Account, CREF Global

Equities Account, CREF Social Choice Account, CREF Money Market Account,

CREF Inflation-Linked Bond Account, and CREF Bond Market Account. These


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funds invest in underlying securities that correspond to their respective investment

style. The value of the Plans’ investment in these variable annuities changes over

time based on investment performance and the expenses of the accounts.

       23.      The expense ratio of the CREF variable annuity accounts is made up of

multiple layers of expense charges consisting of the following:

             a. “administrative expense” charge (24 bps);2

             b. “distribution expense” charge (9.5 bps);

             c. “mortality and expense risk” charge (0.5 bps); and

             d. “investment advisory expense” charge (ranging from 4 to 12.5 bps).

       24.      The TIAA Real Estate Account is an insurance separate account

maintained by TIAA-CREF. An insurance separate account is an investment vehicle

that aggregates assets from more than one retirement plan, with the assets

segregated from the insurance company’s general account assets. Similar to the

CREF variable annuity accounts, the expense ratio of the TIAA Real Estate Account

is made up of multiple layers of expense charges. As of May 1, 2013, these charges

consisted of the following:

             a. “administrative expense” charge (26.5 bps);

             b. “distribution expense” charge (8 bps);

             c. “mortality and expense risk” charge (0.5 bps);

             d. “liquidity guarantee” (18 bps); and

             e. “investment management expense” charge (36.5 bps).


 2One basis point is equal to 1/100th of one percent (or 0.01%). Expenses are stated as of
May 1, 2014.
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         25.     The remaining investment options in the Plans are mutual funds

offered by TIAA-CREF, Vanguard, and Calvert. These funds charge varying

amounts for investment management, and also charge for distribution, marketing,

and other expenses, depending on the type of investment and share class.

         26.     Mutual funds have shareholders who are not participants in either of

the Plans, or any retirement plan, and who purchase shares as a result of the funds’

marketing efforts. However, all shareholders in the mutual funds, including the

participants in the Plans, pay the same expenses.

         27.     As of year-end 2014, the Plans’ combined $4.6 billion in assets was

allocated as follows: $3.2 billion invested in 23 TIAA-CREF options (Officers: $2.073

billion, VRSP: $1.125 billion); $1.4 billion invested in 76 Vanguard options (Officers:

$722.4 million, VRSP: $655.7 million), and $69 million invested in 21 Calvert

options (Officers: $41.8 million, VRSP: $27.4 million).

   II.         Defendants caused Plan participants to pay excessive
               administrative and recordkeeping fees in violation of ERISA.

         28.     Recordkeeping is a service necessary for every defined contribution

plan. The market for recordkeeping services is highly competitive. There are

numerous recordkeepers in the marketplace who are equally capable of providing a

high level of service to large defined contribution plans like the Plans. These

recordkeepers primarily differentiate themselves based on price and vigorously

compete for business by offering the best price.

         29.     To ensure that plan administrative and recordkeeping expenses are

reasonable for the services provided, prudent fiduciaries of large defined

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contribution plans obtain competitive bids for these services at regular intervals of

approximately three years.

        30.   The cost of recordkeeping services depends on the number of

participants in a plan, not on the amount of assets in a plan or in a participant’s

account. It costs no more to keep records for a $75,000 account than a $5,000

account. For this reason, prudent fiduciaries of defined contribution plans negotiate

recordkeeping fees on the basis of a fixed dollar amount that is based on the total

number of participants in the plan rather than as a percentage of plan assets.

Otherwise, as plan assets grow due to participant contributions or investment

gains, recordkeeping fees increase even though the services have remained the

same.

        31.   Jumbo defined contribution plans, like the Plans, possess tremendous

economies of scale for recordkeeping and administrative services. As the number of

participants in a plan increases, the per-participant fee charged for recordkeeping

and administrative services declines. These lower administrative expenses are

readily available for plans with a large number of participants.

        32.   Some investments engage in a practice known as revenue sharing. In a

revenue sharing arrangement, a mutual fund or other investment vehicle directs a

portion of the expense ratio—the asset-based fees it charges to investors—to the

plan’s recordkeeper, putatively for providing recordkeeping and administrative

services for the investment. Because revenue sharing arrangements provide asset-

based fees, if prudent fiduciaries use revenue sharing (or asset-based charges) to


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pay for recordkeeping, they must monitor the total amount of revenue received by

the recordkeeper to ensure that the recordkeeper is not receiving unreasonable

compensation. Because revenue sharing payments are asset-based, they often bear

no relation to a reasonable recordkeeping fee and can quickly result in excessive

compensation. The difference in cost between a mutual fund’s retail and

institutional share classes is often attributable to a larger amount of revenue

sharing in the higher cost retail shares. Therefore, funds that share revenue may

use these payments as kickbacks to induce recordkeepers to use the higher-cost

retail share classes as plan investment options.

      33.    Prudent fiduciaries of similarly sized defined contribution plans use a

single recordkeeper rather than hiring multiple recordkeepers and custodians or

trustees. This leverages plan assets to provide economies of scale and ensures that

plan participants pay only reasonable recordkeeping fees, while also simplifying

personnel and payroll data feeds, reducing electronic fund transfers, and avoiding

duplication of services when more than one recordkeeper is used.

      34.    According to a 2013 survey of 403(b) plans, more than 90% of plans use

a single recordkeeper to provide administrative and recordkeeping services to

participants. See LIMRA Retirement Research, 403(b) Plan Sponsor Research

(2013).3

      35.    It is well known in the defined contribution industry that plans with

dozens of choices and multiple recordkeepers “fail” based on two primary flaws:

 3 Available at
http://www.limra.com/uploadedFiles/limracom/LIMRA_Root/Secure_Retirement_Institute/
News_Center/Reports/130329-01exec.pdf.
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         1. The choices are overwhelming. Numerous studies have
         demonstrated that when people are given too many choices of
         anything, they lose confidence or make no decision.
         2. The multi-recordkeeper platform is inefficient. It does not
         allow sponsors to leverage total plan assets and receive appropriate
         pricing based on aggregate assets.

The Standard Retirement Services, Inc., Fixing Your 403(b) Plan: Adopting a Best

Practices Approach, at 2 (Nov. 2009)(emphasis in original).4

         36.   The benefits of using a single recordkeeper are clear:

         By selecting a single recordkeeper, plan sponsors can enhance their
         purchasing power and negotiate lower, transparent investment fees for
         participants. Participants will benefit from a more manageable
         number of institutional-quality investment options to choose from.
         Participants will also benefit from customized and consistent
         enrollment, education and ongoing communication materials.5

         37.   In a study titled “How 403(b) Plans Are Wasting Nearly $10 Billion

Annually, and What Can Be Done to Fix It,” AonHewitt, an independent investment

consultant, similarly recognized:

         403(b) plan sponsors can dramatically reduce participant-borne costs
         while improving employees’ retirement readiness by:

               – Reducing the number of investment options, utilizing an “open
               architecture” investment menu, and packaging the options
               within a “tiered” structure.

               – Consolidating recordkeepers to improve efficiencies and reduce
               compliance-related risks.

               – Leveraging aggregate plan size and scale to negotiate
               competitive pricing.




 4   Available at https://www.standard.com/pensions/publications/14883_1109.pdf.
 5   Id.
                                             12
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AonHewitt, How 403(b) Plans Are Wasting Nearly $10 Billion Annually, and What

Can Be Done to Fix It (Jan. 2016).6

      38.    Another independent investment consultant, Towers Watson, also

recognized that using multiple recordkeepers has caused:

      high investment and administrative costs, and complex choices for
      plan participants in terms of the number of vendors and the array of
      investment options. Additionally, this complexity has made it difficult
      for employers to monitor available choices and provide ongoing
      oversight…Such designs typically are expensive and fail to leverage
      plan size. They can also be confusing to the average plan participant,
      who is likely to fall short of achieving retirement readiness and would
      benefit from more guidance.

Peter Grant and Gary Kilpatrick, Higher Education’s Response to a New Defined

Contribution Environment, TOWERS WATSON VIEWPOINTS, at 2 (2012).7

      39.    Other industry literature makes the same points. See, e.g., Kristen

Heinzinger, Paring Down Providers: A 403(b) Sponsor’s Experience, PLANSPONSOR

(Dec. 6, 2012)(“One advantage of consolidating to a single provider was an overall

drop in administrative fees and expenses. Recordkeeping basis points returned to

the plan sponsors rather than to the vendor. All plan money aggregated into a

single platform, and participants were able to save on fee structure. This also

eliminated the complications and confusion of having three different




 6 Available at https://retirementandinvestmentblog.aon.com/getattachment/36ff81a4-db35-
4bc0-aac1-
1685d2a64078/How_403(b)_Plans_are_Wasting_Nearly_$10_Billion_Annually_Whitepaper
_FINAL.pdf.aspx.
 7 Available at

https://www.towerswatson.com/DownloadMedia.aspx?media=%7B08A2F366-14E3-4C52-
BB78-8930F598FD26%7D.
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recordkeepers.”);8 Paul B. Lasiter, Single Provider, Multiple Choices, BUSINESS

OFFICER (Mar. 2010)(identifying, among other things, the key disadvantages of

maintaining a multi-provider platform including the fact that it is “cumbersome and

costly to continue overseeing multiple vendors.”).9

      40.    Use of a single recordkeeper is also less confusing to participants and

avoids excessive recordkeeping fees. Vendor Consolidation in Higher Education:

Getting More from Less, PLANSPONSOR (July 29, 2010)(recognizing the following

benefits, among others: “The plan participant experience is better” because

“employees are benefiting from less confusion as a result of fewer vendors in the

mix”; “Administrative burden is lessened” by “bringing new efficiencies to the

payroll”; and “Costs can be reduced” because “[w]ith a reduced number of vendors in

the equation, plan sponsors are better able to negotiate fees” and many are

“reporting lower overall cost resulting in an improved cost-per-participant ratio”).10

      41.    Despite the long-recognized benefits of a single recordkeeper for a

defined contribution plan, Defendants continued to contract with two separate

recordkeepers for the Plans: TIAA-CREF and Vanguard. There was no loyal or

prudent reason for Defendants to maintain this inefficient and costly structure of

multiple recordkeepers, which has caused the Plans’ participants to pay excessive

and unreasonable fees for recordkeeping and administrative services.

 8 Available at http://www.plansponsor.com/paring-down-providers-a-403b-sponsors-
experience/?fullstory=true.
  9 Available at

http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010/Single_
Provider_Multiple_Choices.html.
 10 Available at http://www.plansponsor.com/vendor-consolidation-in-higher-

education/?fullstory=true.
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         42.   The Plans’ recordkeepers receive compensation through revenue

sharing payments from the Plans’ investments.

         43.   Upon information, belief, and data from industry experts, the amounts

of revenue sharing kicked back to the TIAA-CREF recordkeeping entity for the

Plans’ TIAA-CREF and Calvert investments are set forth below.

                  TIAA-CREF Investment                Revenue Share
               CREF variable annuity contracts            24 bps
               Retirement share class of TIAA-
                                                           25 bps
               CREF mutual funds
               TIAA Real Estate Account                 24–26.5 bps
               TIAA Traditional Annuity                   15 bps
               Calvert mutual funds, A class
                                                         25–50 bps
               shares

         44.   Upon information and belief, Vanguard is compensated for

recordkeeping services based on revenue sharing payments it receives from the

higher-cost retail share classes of the Vanguard mutual funds that Defendants

included in the Plans instead of the available lower-cost institutional class shares.

         45.   In addition, TIAA-CREF and Vanguard also receive additional indirect

compensation, including float, revenue derived from securities lending, distribution

fees, mortality and expense charges, surrender charges, spread, and redemption

fees.

         46.   As noted, the Plans had approximately 27,000 unique participants

with account balances as of year-end 2014 (about 20,000 of whom had an account in

both Plans). Individuals with accounts in both Plans receive a single account

statement. Based on the Plans’ features, the nature of the administrative services


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provided by the Plans’ recordkeepers, and the recordkeeping market, a reasonable

annual recordkeeping fee for these 27,000 participant Plans would have been

approximately $950,000 in the aggregate for both Plans combined (based on a flat

fee of $35 per participant).

      47.    The Plans’ annual reports filed with the Department of Labor (Form

5500) show that TIAA-CREF and Vanguard received indirect compensation from

the Plans, but do not disclose the amount of that compensation. Upon information

and belief regarding the amount of revenue sharing paid to each of the Plans’

recordkeepers from their proprietary investment options and the Calvert mutual

funds and the amount of Plan assets invested in each option, the Plans paid a net

total of between $2.9 and $5.8 million per year for recordkeeping services from 2010

through 2014 (approximately $116 to $234 for each of the Plans’ unique participants

that year), up to over six times higher than a reasonable fee for these services,

resulting in millions of dollars in excessive recordkeeping fees each year. Although

the Plans’ annual reports for 2015 and 2016 are not yet publicly available, Plaintiffs

allege upon information and belief that the Plans have continued to pay similarly

excessive rates after 2014.

      48.    Even when considered on a per-account basis rather than a per-

participant basis, the Plans paid between $69 and $139 for the roughly 42,000 to

47,000 combined accounts in the Plans from 2010 through 2014, still up to four

times higher than a reasonable market rate for these services, again resulting in

millions of dollars in excessive recordkeeping fees each year.


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         49.     The impact of excessive fees on participants’ retirement savings is

dramatic. The U.S. Department of Labor has noted that just a 1% difference in

annual fees makes a 28% difference in retirement assets over the course of a 35-

year career. U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, at 1–2 (Aug. 2013);11

see also Tibble v. Edison Int’l, 135 S. Ct. 1823, 1826 (2015)(noting that expenses can

“significantly reduce the value of an account in a defined-contribution plan.”).

         50.     Upon information and belief, Defendants also failed to conduct a

competitive bidding process for the Plans’ recordkeeping services. Soliciting

competitive bids would have shown Defendants that the amounts the Plans were

paying were unreasonable and excessive, and would have allowed Defendants to

negotiate a reduction in recordkeeping fees for the benefit of the Plans.

         51.     By failing to monitor and control the compensation paid to TIAA-CREF

and Vanguard for recordkeeping and administrative services, Defendants caused

the Plans to pay unreasonable expenses for administration, resulting in Plan losses

of at least $15–$20 million.12

      III.     Defendants failed to consider or offer dramatically lower-cost
               investments that were available to the Plans, including identical
               mutual funds in lower-cost share classes.

         52.     Nobel Prize winners in economics have concluded that virtually no

investment manager consistently beats the market over time after fees are taken



 11 Available at http://www.dol.gov/ebsa/pdf/401kfeesemployee.pdf.
 12 The Plans’ losses have been brought forward to the present value using the investment
returns of the S&P 500 index to compensate participants who have not been reimbursed for
their losses. This is because the excessive fees participants paid would have remained in
the Plans’ investments growing with the market.
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into account. “Properly measured, the average actively managed dollar must

underperform the average passively managed dollar, net of costs.” William F.

Sharpe, The Arithmetic of Active Management, 47 FIN. ANALYSTS J. 7, 8 (Jan./Feb.

1991);13 Eugene F. Fama & Kenneth R. French, Luck Versus Skill in the Cross-

Section of Mutual Fund Returns, 65 J. FIN. 1915, 1915 (2010)(“After costs…in terms

of net returns to investors, active investment must be a negative sum game.”).

         53.    To the extent managers show any sustainable ability to beat the

market, the outperformance is nearly always dwarfed by mutual fund expenses.

Fama & French, Luck Versus Skill in the Cross-Section of Mutual Fund Returns, at

1931–34; see also Russ Wermers, Mutual Fund Performance: An Empirical

Decomposition into Stock-Picking Talent, Style, Transaction Costs, and Expenses, 55

J. FIN. 1655, 1690 (2000)(“on a net-return level, the funds underperform broad

market indexes by one percent per year”).

         54.    If an individual high-cost mutual fund exhibits market-beating

performance over a short period of time, studies demonstrate that outperformance

during a particular period is not predictive of whether a mutual fund will perform

well in the future. Laurent Barras et al., False Discoveries in Mutual Fund

Performance: Measuring Luck in Estimated Alphas, 65 J. FIN. 179, 181 (2010); Mark

M. Carhart, On Persistence in Mutual Fund Performance, 52 J. FIN. 57, 57, 59

(1997)(measuring thirty-one years of mutual fund returns and concluding that

“persistent differences in mutual fund expenses and transaction costs explain



 13   Available at http://www.cfapubs.org/doi/pdf/10.2469/faj.v47.n1.7.
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almost all of the predictability in mutual fund returns”). However, the worst-

performing mutual funds show a strong, persistent tendency to continue their poor

performance. Carhart, On Persistence in Mutual Fund Performance, at 57.

      55.    Academic and financial industry literature further demonstrates that

high expenses are not correlated with superior investment management. Indeed,

funds with high fees on average perform worse than less expensive funds even on a

pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is Better: Fee

Determination in the Market for Equity Mutual Funds, 67 J. ECON. BEHAV. & ORG.

871, 873 (2008); see also Jill E. Fisch, Rethinking the Regulation of Securities

Intermediaries, 158 U. PA. L. REV. 1961, 1993 (2010)(summarizing numerous

studies showing that “the most consistent predictor of a fund’s return to investors is

the fund’s expense ratio”).

      [T]he empirical evidence implies that superior management is not
      priced through higher expense ratios. On the contrary, it appears that
      the effect of expenses on after-expense performance (even after
      controlling for funds’ observable characteristics) is more than one-to-
      one, which would imply that low-quality funds charge higher fees.
      Price and quality thus seem to be inversely related in the market for
      actively managed mutual funds.

Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.

      56.    Accordingly, investment costs are a paramount consideration in

prudent investment selection, and a prudent investor will not select higher-cost

actively managed funds without a documented process to realistically conclude that

the fund is likely to be that extremely rare exception, if one even exists, that will

outperform its benchmark index over time, net of investment expenses.


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        57.    Similarly, when a given mutual fund offers multiple share classes that

provide identical investment management, a prudent investor will select the

available share class that charges the lowest fee, because doing so saves money and

results in greater net investment returns. Jumbo retirement plans have massive

bargaining power that enables them to avoid retail shares and obtain lower-cost

institutional shares. Fiduciaries must wield that size to benefit their plans:

        The fiduciaries also must consider the size and purchasing power of
        their plan and select the share classes (or alternative investments)
        that a fiduciary who is knowledgeable about such matters would select
        under the circumstances. In other words, the “prevailing
        circumstances”—such as the size of the plan—are a part of a prudent
        decisionmaking process. The failure to understand the concepts and to
        know about the alternatives could be a costly fiduciary breach.

Fred Reish, Class–ifying Mutual Funds, PLANSPONSOR (Jan. 2011).14

        58.    Institutional investors can obtain institutional share class mutual

funds that are less costly than retail shares, and jumbo investors like the Plans can

obtain even lower-cost share classes. In addition, insurance company pooled

separate accounts are available to jumbo defined contribution plans that can

significantly reduce investment fees compared to mutual funds.

        59.    Even if a plan’s investment in a given fund does not meet the

minimum investment threshold to qualify for an institutional share class, fund

providers will routinely waive the investment minimum if a large plan requests it,

particularly when the plan’s total investment in the provider’s platform is

significant.



 14   Available at http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.
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      60.    Defendants did not use the Plans’ bargaining power to obtain the

lowest-cost institutional share classes that were available to the Plans. Instead, for

dozens of the Plans’ mutual funds, Defendants selected and retained the higher cost

retail share classes, even though a less expensive, but otherwise identical

institutional share class was available.

      61.    Identical, lower cost versions of the Plans’ Vanguard mutual funds

that were available to the Plans included the following:

                                                                 Identical
                                                                  Lower-
                                                                            Plan’s
                            Plan      Identical Lower-Cost         Cost
  Plan Mutual Fund                                                         Excess
                            Fee           Mutual Fund             Mutual
                                                                             Cost
                                                                   Fund
                                                                    Fee
                                                                   2 bps   750.00%
Vanguard 500 Index          17 bps Vanguard 500 Index
(Inv) (VFINX)                      (Instl Plus) (VIIIX)
Vanguard Asset           27 bps Vanguard Asset                     19 bps     42.11%
Allocation (Inv) (VAAPX)        Allocation (Adm)
                                (VAARX)
Vanguard Balanced        26 bps Vanguard Balanced                  8 bps      225.00%
Index (Inv) (VBINX)             Index (Adm) (VBAIX)

Vanguard Capital            48 bps Vanguard Capital                41 bps     17.07%
Opportunity (Inv)                  Opportunity (Adm)
(VHCOX)                            (VHCAX)
Vanguard Developed          20 bps Vanguard Developed              6 bps      233.33%
Markets Index (Inv)                Markets Index (Instl
(VDMIX)                            Plus) (VDMPX)




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                                                                  Identical
                                                                   Lower-
                                                                             Plan’s
                             Plan     Identical Lower-Cost           Cost
  Plan Mutual Fund                                                          Excess
                             Fee          Mutual Fund              Mutual
                                                                              Cost
                                                                    Fund
                                                                     Fee
Vanguard Emerging           35 bps Vanguard Emerging                15 bps  133.33%
Markets Stock Index                Markets Stock Index
(Inv) (VEIEX)                      (Instl) (VEMIX)
Vanguard Emerging           33 bps Vanguard Emerging               10 bps     230.00%
Markets Stock Index                Markets Stock Index
(Inv) (VEIEX)15                    (Instl Plus) (VEMRX)
Vanguard Energy (Inv)       38 bps Vanguard Energy (Adm)           31 bps      22.58%
(VGENX)                            (VGELX)


Vanguard Equity-            31 bps Vanguard Equity-                22 bps      40.91%
Income (Inv) (VEIPX)               Income (Adm) (VEIRX)
Vanguard European           26 bps Vanguard European               10 bps     160.00%
Stock Index (Inv)                  Stock Index (Instl)
(VEURX)                            (VESIX)
Vanguard Explorer (Inv)     49 bps Vanguard Explorer               32 bps      53.13%
(VEXPX)                            (Adm) (VEXRX)

Vanguard Extended           26 bps Vanguard Extended                8 bps     225.00%
Market Index (Inv)                 Market Index (Instl
(VEXMX)                            Plus) (VEMPX)
Vanguard Extended           24 bps Vanguard Extended                6 bps     300.00%
Market Index (Inv)                 Market Index (Instl
(VEXMX)                            Plus) (VEMPX)
Vanguard FTSE Social        29 bps Vanguard FTSE Social            16 bps      81.25%
Index (Inv) (VFTSX)                Index (Instl) (VFTNX)
Vanguard GNMA (Inv)         23 bps Vanguard GNMA (Adm)             13 bps      76.92%
(VFIIX)                            (VFIJX)

Vanguard Growth &           32 bps Vanguard Growth &               21 bps      52.38%
Income (Inv) (VQNPX)               Income (Adm) (VGIAX)




  Certain of the Plans’ Vanguard funds are listed more than once because there were
 15

multiple available lower-cost share classes.
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                                                          Identical
                                                           Lower-
                                                                     Plan’s
                         Plan    Identical Lower-Cost       Cost
  Plan Mutual Fund                                                  Excess
                         Fee         Mutual Fund           Mutual
                                                                      Cost
                                                            Fund
                                                             Fee
Vanguard Growth Index    26 bps Vanguard Growth Index       8 bps   225.00%
(Inv) (VIGRX)                   (Instl) (VIGIX)

Vanguard Health Care     36 bps Vanguard Health Care       29 bps   24.14%
(Inv) (VGHCX)                   (Adm) (VGHAX)

Vanguard High-Yield      28 bps Vanguard High-Yield        15 bps   86.67%
Corporate (Inv)                 Corporate (Adm)
(VWEHX)                         (VWEAX)
Vanguard Inflation-      22 bps Vanguard Inflation-         7 bps   214.29%
Protected Securities            Protected Securities
(Inv) (VIPSX)                   (Instl) (VIPIX)
Vanguard Intermediate-   22 bps Vanguard Intermediate-      7 bps   214.29%
Term Bond Index (Inv)           Term Bond Index (Instl)
(VBIIX)                         (VBIMX)
Vanguard Intermediate-   20 bps Vanguard Intermediate-      5 bps   300.00%
Term Bond Index (Inv)           Term Bond Index (Instl
(VBIIX)                         Plus) (VBIUX)
Vanguard Intermediate-   24 bps Vanguard Intermediate-     11 bps   118.18%
Term Investment-Grade           Term Investment-Grade
(Inv) (VFICX)                   (Adm) (VFIDX)
Vanguard Intermediate-   25 bps Vanguard Intermediate-     12 bps   108.33%
Term Treasury (Inv)             Term Treasury (Adm)
(VFITX)                         (VFIUX)
Vanguard International   49 bps Vanguard International     33 bps   48.48%
Growth (Inv) (VWIGX)            Growth (Adm) (VWILX)

Vanguard Long-Term       22 bps Vanguard Long-Term          7 bps   214.29%
Bond Index (Inv)                Bond Index (Instl)
(VBLTX)                         (VBLLX)
Vanguard Long-Term       20 bps Vanguard Long-Term          5 bps   300.00%
Bond Index (Inv)                Bond Index (Instl Plus)
(VBLTX)                         (VBLIX)


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                                                         Identical
                                                          Lower-
                                                                    Plan’s
                         Plan    Identical Lower-Cost       Cost
  Plan Mutual Fund                                                 Excess
                         Fee         Mutual Fund          Mutual
                                                                     Cost
                                                           Fund
                                                            Fee
Vanguard Long-Term       26 bps Vanguard Long-Term         13 bps  100.00%
Investment-Grade (Inv)          Investment-Grade (Adm)
(VWESX)                         (VWETX)

Vanguard Long-Term       25 bps Vanguard Long-Term        12 bps   108.33%
Treasury (Inv) (VUSTX)          Treasury (Adm)
                                (VUSUX)

Vanguard Mid Cap         26 bps Vanguard Mid Cap           8 bps   225.00%
Index (Inv) (VIMSX)             Index (Instl) (VMCIX)


Vanguard Mid Cap         24 bps Vanguard Mid Cap           6 bps   300.00%
Index (Inv) (VIMSX)             Index (Instl Plus)
                                (VMCPX)

Vanguard Morgan          43 bps Vanguard Morgan           29 bps   48.28%
Growth (Inv) (VMRGX)            Growth (Adm) (VMRAX)


Vanguard Pacific Stock   26 bps Vanguard Pacific Stock    10 bps   160.00%
Index (Inv) (VPACX)             Index (Instl) (VPKIX)

Vanguard Prime Money     23 bps Vanguard Prime Money       9 bps   155.56%
Market (Inv) (VMMXX)            Market (Adm) (VMRXX)

Vanguard PRIMECAP        45 bps Vanguard PRIMECAP         36 bps   25.00%
(Inv) (VPMCX)                   (Adm) (VPMAX)


Vanguard REIT Index      26 bps Vanguard REIT Index        9 bps   188.89%
(Inv) (VGSIX)                   (Instl) (VGSNX)

Vanguard Short-Term      22 bps Vanguard Short-Term       11 bps   100.00%
Bond Index (Inv)                Bond Index (Adm)
(VBISX)                         (VBIRX)

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                                                           Identical
                                                            Lower-
                                                                      Plan’s
                         Plan    Identical Lower-Cost        Cost
  Plan Mutual Fund                                                   Excess
                         Fee         Mutual Fund            Mutual
                                                                       Cost
                                                             Fund
                                                              Fee
Vanguard Short-Term      20 bps Vanguard Short-Term          5 bps   300.00%
Bond Index (Inv)                Bond Index (Instl Plus)
(VBISX)                         (VBIPX)
Vanguard Short-Term      22 bps Vanguard Short-Term         12 bps   83.33%
Federal (Inv) (VSGBX)           Federal (Adm) (VSGDX)

Vanguard Short-Term      24 bps Vanguard Short-Term          9 bps   166.67%
Investment-Grade (Inv)          Investment-Grade (Instl)
(VFSTX)                         (VFSIX)
Vanguard Short-Term      22 bps Vanguard Short-Term         12 bps   83.33%
Treasury (Inv) (VFISX)          Treasury (Adm) (VFIRX)

Vanguard Small Cap       26 bps Vanguard Small Cap           8 bps   225.00%
Growth Index (Inv)              Growth Index (Instl)
(VISGX)                         (VSGIX)
Vanguard Small Cap       26 bps Vanguard Small Cap           8 bps   225.00%
Index (Inv) (NAESX)             Index (Instl) (VSCIX)

Vanguard Small Cap       24 bps Vanguard Small Cap           6 bps   300.00%
Index (Inv) (NAESX)             Index (Instl Plus)
                                (VSCPX)
Vanguard Small Cap       26 bps Vanguard Small Cap           8 bps   225.00%
Value Index (Inv)               Value Index (Instl)
(VISVX)                         (VSIIX)
Vanguard Tax-Managed     20 bps Vanguard Tax-Managed         7 bps   185.71%
International (Inv)             International (Instl)
(VDVIX)                         (VTMNX)
Vanguard Total Bond      22 bps Vanguard Total Bond          7 bps   214.29%
Market Index (Inv)              Market Index (Instl)
(VBMFX)                         (VBTIX)
Vanguard Total Bond      22 bps Vanguard Total Bond          5 bps   340.00%
Market Index (Inv)              Market Index (Instl
(VBMFX)                         Plus) (VBMPX)



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                                                              Identical
                                                               Lower-
                                                                         Plan’s
                           Plan     Identical Lower-Cost         Cost
  Plan Mutual Fund                                                      Excess
                           Fee          Mutual Fund            Mutual
                                                                          Cost
                                                                Fund
                                                                 Fee
Vanguard Total             22 bps Vanguard Total                10 bps  120.00%
International Stock               International Stock
Index (Inv) (VGTSX)               Index (Instl Plus)
                                  (VTPSX)
Vanguard Total Stock       17 bps Vanguard Total Stock           2 bps   750.00%
Market Index (Inv)                Market Index (Instl
(VTSMX)                           Plus) (VITPX)

Vanguard U.S. Growth       45 bps Vanguard U.S. Growth          29 bps   55.17%
(Inv) (VWUSX)                     (Adm) (VWUAX)

Vanguard Value Index       26 bps Vanguard Value Index           8 bps   225.00%
(Inv) (VIVAX)                     (Instl) (VIVIX)

Vanguard Wellesley         28 bps Vanguard Wellesley            21 bps   33.33%
Income (Inv) (VWINX)              Income (Adm) (VWIAX)

Vanguard Wellington        30 bps Vanguard Wellington           22 bps   36.36%
(Inv) (VWELX)                     (Adm) (VWENX)

Vanguard Windsor II        35 bps Vanguard Windsor II           27 bps   29.63%
(Inv) (VWNFX)                     (Adm) (VWNAX)

Vanguard Windsor (Inv)     33 bps Vanguard Windsor              22 bps   50.00%
(VWNDX)                           (Adm) (VWNEX)


      62.   Identical, lower-cost versions of the Plans’ TIAA-CREF and Calvert

mutual funds that were available to the Plans included the following:




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                                                             Identical
                                                              Lower-
                                                                         Plan's
                           Plan   Identical Lower-Cost          Cost
  Plan Mutual Fund                                                       Excess
                           Fee        Mutual Fund             Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Calvert Balanced           131    Calvert Balanced             75 bps    74.67%
Portfolio (A) (CSIFX)      bps    Portfolio (I) (CBAIX)


Calvert Bond Portfolio     114    Calvert Bond Portfolio      52 bps     119.23%
(A) (CSIBX)                bps    (I) (CBDIX)

Calvert Capital            176    Calvert Capital             86 bps     104.65%
Accumulation (A)           bps    Accumulation (I)
(CCAFX)                           (CCPIX)
Calvert Equity Portfolio   122    Calvert Equity Portfolio    68 bps     79.41%
(A) (CSIEX)                bps    (I) (CEYIX)
Calvert Global             185    Calvert Global              140 bps    32.14%
Alternative Energy (A)     bps    Alternative Energy (I)
(CGAEX)                           (CAEIX)
Calvert Global Water (A)   185    Calvert Global Water (Y)    160 bps    15.63%
(CFWAX)                    bps    (CFWYX)

Calvert Government (A)     104    Calvert Government (I)      73 bps     42.47%
(CGVAX)                    bps    (CVGIX)

Calvert High Yield Bond    165    Calvert High Yield Bond     97 bps     70.10%
(A) (CYBAX)                bps    (I) (CYBIX)

Calvert Income (A)         123    Calvert Income (I)          55 bps     123.64%
(CFICX)                    bps    (CINCX)

Calvert International      180    Calvert International       106 bps    69.81%
Equity (A) (CWVGX)         bps    Equity (I) (CWVIX)

Calvert International      166    Calvert International       120 bps    38.33%
Opportunities (A)          bps    Opportunities (I)
(CIOAX)                           (COIIX)



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                                                             Identical
                                                              Lower-
                                                                         Plan's
                           Plan     Identical Lower-Cost        Cost
  Plan Mutual Fund                                                       Excess
                           Fee          Mutual Fund           Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Calvert Large Cap Core      138    Calvert Large Cap Core      81 bps    70.37%
Portfolio (A) (CMIFX)       bps    Portfolio (I) (CMIIX)

Calvert Large Cap           127    Calvert Large Cap          67 bps     89.55%
Growth (A) (CLGAX)          bps    Growth (I) (CLCIX)

Calvert Large Cap Value     123    Calvert Large Cap Value    98 bps     25.51%
(A) (CLVAX)                 bps    (Y) (CLVYX)

Calvert Short Duration      108    Calvert Short Duration     51 bps     111.76%
Income (A) (CSDAX)          bps    Income (I) (CDSIX)

Calvert Small Cap (A)       169    Calvert Small Cap (I)      92 bps     83.70%
(CCVAX)                     bps    (CSVIX)

Calvert Social Index (A)   75 bps Calvert Social Index (I)    21 bps     257.14%
(CSXAX)                           (CISIX)

Calvert Ultra-Short        89 bps Calvert Ultra-Short         67 bps     32.84%
Income (A) (CULAX)                Income (Y) (CULYX)

TIAA-CREF Lifecycle        65 bps TIAA-CREF Lifecycle         40 bps     62.50%
2010 (Retire) (TCLEX)             2010 (Instl) (TCTIX)

TIAA-CREF Lifecycle        67 bps TIAA-CREF Lifecycle         42 bps     59.52%
2015 (Retire) (TCLIX)             2015 (Instl) (TCNIX)

TIAA-CREF Lifecycle        67 bps TIAA-CREF Lifecycle         42 bps     59.52%
2020 (Retire) (TCLTX)             2020 (Instl) (TCWIX)

TIAA-CREF Lifecycle        69 bps TIAA-CREF Lifecycle         44 bps     56.82%
2025 (Retire) (TCLFX)             2025 (Instl) (TCYIX)

TIAA-CREF Lifecycle        71 bps TIAA-CREF Lifecycle         46 bps     54.35%
2030 (Retire) (TCLNX)             2030 (Instl) (TCRIX)


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                                                                 Identical
                                                                  Lower-
                                                                               Plan's
                                Plan   Identical Lower-Cost         Cost
  Plan Mutual Fund                                                             Excess
                                Fee        Mutual Fund            Mutual
                                                                                Cost
                                                                   Fund
                                                                    Fee
TIAA-CREF Lifecycle         72 bps TIAA-CREF Lifecycle             47 bps      53.19%
2035 (Retire) (TCLRX)              2035 (Instl) (TCIIX)

TIAA-CREF Lifecycle         72 bps TIAA-CREF Lifecycle             47 bps      53.19%
2040 (Retire) (TCLOX)              2040 (Instl) (TCOIX)

TIAA-CREF Lifecycle         72 bps TIAA-CREF Lifecycle             47 bps      53.19%
2045 (Retire) (TTFRX)              2045 (Instl) (TTFIX)

TIAA-CREF Lifecycle         71 bps TIAA-CREF Lifecycle             46 bps      54.35%
2050 (Retire) (TLFRX)              2050 (Instl) (TFTIX)

TIAA-CREF Lifecycle         74 bps TIAA-CREF Lifecycle             49 bps      51.02%
2055 (Retire) (TTRLX)              2055 (Instl) (TTRIX)

TIAA-CREF Lifecycle         65 bps TIAA-CREF Lifecycle             40 bps      62.50%
Retirement Income                  Retirement Income
(Retire) (TLIRX)                   (Instl) (TLRIX)

      63.    These lower-cost share classes have been available for years, in many

cases for a decade or longer.

      64.    Because the share classes have identical portfolio managers,

underlying investments, and asset allocations, and differ only in cost, Defendants’

failure to select the lower-cost share classes for the Plans’ mutual fund options

demonstrates that Defendants failed to prudently consider and use the size and

purchasing power of the Plans when selecting the Plans’ investment options.

      65.    Defendants’ use of the higher-cost share classes instead of the

available lower-cost versions caused millions of dollars in lost retirement savings.


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      IV.         Defendants selected and retained a large number of duplicative
                  investment options, diluting the Plans’ ability to pay lower fees
                  and confusing participants.

            66.     Defendants provided a dizzying array of duplicative funds in the same

investment style, thereby losing the bargaining power associated with offering a

single option in each investment style, which significantly reduces investment fees,

and causing “decision paralysis” for participants. Defendants placed over 100

investment options in the Plans’ core lineup, from the following asset classes: target

date and asset allocation funds, large cap domestic equities, mid cap domestic

equities, small cap domestic equities, international equities, fixed income, money

market, real estate, and fixed guaranteed annuity.

            67.     In comparison, according to Callan Investments Institute’s 2015

Defined Contribution Trends survey, defined contribution plans in 2014 had on

average 15 investment options, excluding target date funds. Callan Investments

Institute, 2015 Defined Contribution Trends, at 28 (2015).16 This reasonable number

of options provides participants with a choice of investment styles while

maintaining a larger pool of assets in each investment style and avoiding confusion.

            68.     A larger pool of assets in each investment style significantly reduces

fees paid by participants. By consolidating duplicative investments of the same

investment style into a single investment option, the Plans would then have the

ability to command lower-cost investments, such as a low-cost institutional share

class of the selected mutual fund option.



 16   Available at https://www.callan.com/research/files/990.pdf.
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      69.    Prudent fiduciaries of large defined contribution plans engage in a

detailed due diligence process to select and retain investments for a plan based on

the risk, investment return, and expenses of available investment alternatives. The

investment lineup should provide participants with the ability to diversify their

portfolio appropriately while benefiting from the size of the pooled assets of other

employees and retirees.

      70.    Within each asset class and investment style deemed appropriate for a

participant-directed retirement plan, prudent fiduciaries must make a reasoned

determination and select a prudent investment option. In contrast to the

investment lineup assembled by Defendants, prudent fiduciaries do not select and

retain numerous duplicative investment options for a single asset class and

investment style. When many investment options in a single investment style are

included in a plan, fiduciaries lose the bargaining power to obtain lower investment

management expenses for that style.

      71.    In addition, providing multiple options in a single investment style

adds unnecessary complexity to the investment lineup and leads to participant

confusion. See The Standard, Fixing Your 403(b) Plan: Adopting a Best Practices

Approach, at 2 (“Numerous studies have demonstrated that when people are given

too many choices of anything, they lose confidence or make no decision.”); Michael

Liersch, Choice in Retirement Plans: How Participant Behavior Differs in Plans

Offering Advice, Managed Accounts, and Target-Date Investments, T. ROWE PRICE




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RETIREMENT RESEARCH, at 2 (Apr. 2009)(“Offering too many choices to consumers

can lead to decision paralysis, preventing consumers from making decisions.”).17

       72.   Moreover, having many actively managed funds in the Plans within

the same investment style results in the Plans effectively having an index fund

return even though the plan is paying fees for active management that are much

higher than the fees of a passive index fund.

       73.   Since 2010, the Plans have included duplicative investments in every

major asset class and investment style, including balanced/asset allocation (13

options), fixed income and high yield bond (22 options), international (12 options),

large cap domestic equities (22 options), mid cap domestic equities (7 options), small

cap domestic equities (5 options), real estate (2 options), money market (4 options),

and target date investments (2 fund families). Such a dizzying array of duplicative

funds in a single investment style violates the well-recognized industry principle

that too many choices harm participants, and leads to “decision paralysis.”

       74.   For illustration purposes, Defendants included eight large cap

domestic blend investments in the Plans as of December 31, 2014. These

investments are summarized below and compared to a far lower-cost alternative

that was available to the Plans, the Vanguard Institutional Index Fund (Instl Plus).

The Vanguard Institutional Index Fund (Instl Plus) (VIIIX), by definition, mirrors

the market, and has an expense ratio of 2 bps.



 17 Available at
http://www.behavioralresearch.com/Publications/Choice_in_Retirement_Plans_April_2009.p
df.
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                                                         Institutional    Plan’s
   Large Cap Blend
                              Assets            Fee       Index Fund      Excess
     Investments
                                                            (VIIIX)        Cost
CREF Stock Account         $987,634,856        46 bps        2 bps        2200%
CREF Equity Index
                           $117,300,581        37 bps        2 bps        1750%
Account
Vanguard Dividend
Growth Fund (Inv)           $15,668,057        31 bps        2 bps        1450%
(VDIGX)
Vanguard Growth &
                            $16,617,835        37 bps        2 bps        1750%
Income (Inv) (VQNPX)
Vanguard 500 Index
                           $107,658,689        17 bps        2 bps         750%
Fund (Inv) (VFINX)
Vanguard Total Stock
Market Index Fund           $42,687,462        17 bps        2 bps         750%
(Inv) (VTSMX)
Vanguard FTSE Social
                            $2,118,442         27 bps        2 bps        1250%
Index (Inv) (VFTSX)
Calvert Large Cap Core
                            $3,817,692         120 bps       2 bps        5900%
Portfolio (A) (CMIFX)
Total of Higher-Cost
                          $1,293,503,614
Alternatives


      75.   With over $1.1 billion in participants’ retirement assets invested in the

CREF Stock Account and the CREF Equity Index Account, these options were 23

and 18 times more expensive than the 2 bps charged by the lower-cost Vanguard

option.




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            Excessive Expense Ratio of CREF Stock Account and
                        CREF Equity Index Account

                            46 bps                   CREF Expense 2200%–
                                                     1750% Higher than
                                          37 bps     Index Fund
      50

      40

      30

      20                                                2 bps

      10

       0
  Basis Points
     (bps)
    CREF Stock Account                         CREF Equity Index Account
    Vanguard Institutional Index Fund

      76.    Many other large cap index funds are also available at far lower costs

than the Plans’ large cap blend funds. Had the amounts invested in the Plans’ large

cap blend options been consolidated into a single large cap blend investment such as

the Vanguard Institutional Index Fund (Instl Plus), Plan participants would have

avoided losing well in excess of $5 million dollars in fees for 2014 alone, and many

more millions since 2010.

      77.    In addition, Defendants selected and continue to retain multiple

passively managed index options in the same investment style. In contrast to an

actively-managed fund, in which the investment manager selects stocks or bonds in

an attempt to generate investment returns in excess of the fund’s benchmark,

passively managed index funds simply attempt to replicate a market index, such as

the S&P 500, by holding a representative sample of securities in the index. Because


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no stock selection or research is needed, index funds fees are much lower than the

fees of actively-managed funds in the same investment style.

         78.    For example, in the large cap blend investment style, Defendants

included three separate index funds in the Plans that have similar investment

strategies designed to generate investment results that correspond to the return of

the U.S. equity market and do not involve stock selection. Defendants also retained

three separate index funds for the fixed income and intermediate-term bond

investment style.

         79.    Since index funds merely hold the same securities in the same

proportions as the index,18 having multiple index funds in the Plans provides no

benefit to participants. Instead, it hurts participants by diluting the Plans’ ability to

obtain lower rates for a single index fund of that style because the amount of assets

in any one such fund is smaller than the aggregate would be. Moreover, multiple

managers holding stocks which mimic the S&P 500 or a similar index would pick

the same stocks in the same proportions as the index. Thus, there is no value in

offering separate index funds in the same investment style.

         80.    Had Defendants combined hundreds of millions of dollars in Plan

assets from duplicative index funds into a single index fund, the Plans would have

generated higher investment returns, net of fees, and participants would not have

lost significant retirement assets.

         81.    Defendants failed to pool the assets invested in duplicative investment

options for the same investment style into a single investment option, which caused

 18   Another example of an index is the Dow Jones Industrial Average.
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Plan participants to pay millions of dollars in unreasonable investment expenses,

thereby depleting their retirement assets.

   V.         Defendants disloyally and imprudently retained historically
              underperforming Plan investments.

        82.     The higher-cost share class mutual funds, as well as other TIAA and

CREF non-mutual fund options, were included in the Plans not based on their

merits or as the result of a reasoned decision-making process, but because they

provided a steady stream of millions of dollars in annual revenue to the Plans’

recordkeepers. Defendants’ failure to conduct appropriate due diligence in selecting

and retaining the Plans’ investments resulted in Defendants retaining numerous

investment options that historically underperformed for years lower-cost

alternatives that were available to the Plans.

        A.      Defendants imprudently and disloyally retained the CREF
                Stock Account.

        83.     The CREF Stock Account is one of the Plans’ largest investment

options by asset size with nearly $988 million in total assets between the two Plans

as of year-end 2014. In its fund fact sheets and participant disclosures, TIAA-CREF

classifies the CREF Stock Account as a domestic equity investment in the large cap

blend Morningstar category. This option has been offered to participants throughout

the period from 2010 to date, and has, for years, consistently underperformed and

continues to underperform its benchmark and lower-cost actively and passively

managed investments that were available to the Plans.

        84.     TIAA-CREF imposed restrictive provisions on the specific annuities

that must be provided in the Plan. Under these terms, TIAA-CREF required that
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the CREF Stock Account be offered to Plan participants, in addition to the TIAA

Traditional and the CREF Money Market Account. Plan fiduciaries provided these

mandatory offerings in the Plan without a prudent process to determine whether

they were prudent alternatives and in the exclusive best interest of Plan

participants and beneficiaries. TIAA-CREF required the CREF Stock Account to be

included in the Plan to drive very substantial amounts of revenue sharing payments

to TIAA-CREF for recordkeeping services. The CREF Stock Account paid 24 bps in

revenue sharing, which exceeded other TIAA-CREF investments by over 50% (15

bps).

         85.   As generally understood in the investment community, passively

managed investment options should be used or, at a minimum, thoroughly analyzed

and considered in efficient markets such as large capitalization U.S. stocks. This is

because it is unheard of, or extremely unlikely, to find actively managed mutual

funds that outperform a passive index, net of fees, particularly on a persistent basis,

as set forth in ¶¶Error! Reference source not found.–Error! Reference

source not found.. This extreme unlikelihood is even greater in the large cap

market because such big companies are the subject of many analysts’ coverage,

unlike smaller stocks that are not covered by many analysts, leading to potential

inefficiencies in pricing.

         86.   The efficiencies of the large cap market hinder an active manager’s

ability to achieve excess returns for investors.

         [T]his study of mutual funds does not provide any reason to abandon a
         belief that securities markets are remarkably efficient. Most investors

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         would be considerably better off by purchasing a low expense index
         fund, than by trying to select an active fund manager who appears to
         possess a “hot hand.” Since active management generally fails to
         provide excess returns and tends to generate greater tax burdens for
         investors, the advantage of passive management holds, a fortiori.

87.      Burton G. Malkiel, Returns from Investing in Equity Mutual Funds 1971 to

1991, 50 J. FIN. 549, 571 (1995).19

         88.    Academic literature overwhelmingly concludes that active managers

consistently underperform the S&P 500 index.

         Active managers themselves provide perhaps the most persuasive case
         for passive investing. Dozens of studies have examined the
         performance of mutual funds and other professional-managed assets,
         and virtually all of them have concluded that, on average, active
         managers underperform passive benchmarks…The median active fund
         underperformed the passive index in 12 out of 18 years [for the large-
         cap fund universe]…The bottom line is that, over most periods, the
         majority of mutual fund investors would have been better off investing
         in an S&P 500 Index fund.

         ****

         Most of the dismal comparisons for active managers are for large-cap
         domestic managers versus the S&P 500 Index.

Robert C. Jones, The Active Versus Passive Debate: Perspectives of an Active Quant,

ACTIVE EQUITY PORTFOLIO MANAGEMENT, at 37, 40, 53 (Frank J. Fabozzi ed., 1998).

         89.    Prudent fiduciaries of large defined contribution plans must conduct

an analysis to determine whether actively managed funds, particularly large cap,

will outperform their benchmark net of fees. Prudent fiduciaries then make a

reasoned decision as to whether it would be in the participants’ best interest to offer




 19   Available at http://indeksirahastot.fi/resource/malkiel.pdf.
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an actively managed large cap option for the particular investment style and asset

class.

         90.   Defendants failed to undertake such analysis when they selected and

retained the actively managed CREF Stock Account, particularly due to TIAA-

CREF’s requirement that the CREF Stock Account be provided in the Plan in order

to drive revenue to TIAA-CREF. Defendants also provided the fund option without

conducting a prudent analysis despite the acceptance within the investment

industry that the large cap domestic equity market is the most efficient market, and

that active managers do not outperform passive managers net of fees in this

investment style.

         91.   Had such an analysis been conducted by Defendants, they would have

determined that the CREF Stock Account would not be expected to outperform the

large cap index after fees. That is in fact what occurred.

         92.   Rather than poor performance in a single year or two, historical

performance of the CREF Stock Account has been persistently poor for many years

compared to both available lower-cost index funds and the index benchmark. In

participant communications, Defendants and TIAA-CREF identified the Russell

3000 index as the appropriate benchmark to evaluate the fund’s investment results.

The following performance chart compares the investment returns of the CREF

Stock Account to its benchmark and two other passively managed index funds in

the same investment style, for the one-, five-, and ten-year periods ending December




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31, 2014.20 The passively managed index funds used for comparison purposes are

the Vanguard Total Stock Market Index Fund (Inst Plus) (VITPX) and the

Vanguard Institutional Index (Inst Plus) (VIIIX). Like the CREF Stock Account,

these options are large cap blend investments. For each comparison, the CREF

Stock Account dramatically underperformed the benchmark and index alternatives.

                                   CREF Stock Account
                     One-, Five-, and Ten-Year Investment Returns
                               Compared to Benchmarks
                                       (as of Dec. 31, 2014)
                                             30%–33%
                                           greater than
 17.00%            96%–113%                CREF returns
                  greater than
                  CREF returns
 15.00%

 13.00%

 11.00%                                                               16%–23%
                                                                    greater than
                                                                    CREF returns
  9.00%

  7.00%

  5.00%
                   1 Year                   5 Year                 10 Year

              CREF Stock Account          VITPX        VIIIX     Russell 3000


       93.   The CREF Stock Account with an expense ratio of 46 bps as of

December 31, 2014, was and is dramatically more expensive than far better



 20  Performance data provided as of December 31, 2014 to correspond to the most recent
filing of the Plan’s Form 5500 with the Department of Labor.
                                            40
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performing index alternatives: the Vanguard Total Stock Market Index Fund (Instl

Plus) (2 bps) and the Vanguard Institutional Index (Instl Plus) (2 bps).

       94.    Apart from underperforming passively managed index funds, the fund

also significantly underperformed comparable actively managed funds over the one,

five-, and ten-year periods ending December 31, 2014. These large cap blend

alternatives have similar underlying asset allocations to the CREF Stock Account,

and include the Vanguard Diversified Equity (Inv) (VDEQX), Vanguard PRIMECAP

(Adm) (VPMAX), and Vanguard Capital Opp. (Adm) (VHCAX).


                             CREF Stock Account
               One-, Five-, and Ten- Year Investment Returns
                Compared to Actively Managed Benchmarks
                               (as of Dec. 31, 2014)
                  73%–196%
                 greater than
                    CREF                 28%–37%
                   returns             greater than
 19%                                      CREF
                                         returns
 17%

 15%                                                            20%–56%
                                                              greater than
 13%                                                             CREF
                                                                returns
 11%

  9%

  7%

  5%
               1 Year                5 Year                  10 Year
             CREF Stock Account      VDEQX             VPMAX     VHCAX




                                          41
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       95.   The CREF Stock Account also had a long history of substantial

underperformance compared to actively managed alternatives over the one-, five-,

and ten-year periods ending December 31, 2009.21

                           CREF Stock Account
             One-Year Investment Returns Compared to Actively
                           Managed Benchmarks
                                   (as of Dec. 31, 2009)


                                     6%–53%
      50%                          greater than
                                      CREF
      45%                            returns

      40%

      35%

      30%
                                      1 Year
              CREF Stock Account         VDEQX             VPMAX    VHCAX




 21 Because the Vanguard Diversified Equity Fund’s inception date was June 10, 2006, it
was excluded from the five- and ten-year periods. For the Vanguard PRIMECAP (Adm) and
Vanguard Capital Opportunity Fund (Adm), the investment returns of the investor share
class for ten-year performance were used because the admiral share class for each of these
funds was not offered until November 12, 2001. The return since inception for the
Vanguard PRIMECAP (Adm) was 3.23%, and for the Vanguard Capital Opportunity Fund
(Adm), 5.89%.
                                            42
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                       CREF Stock Account
        Five-Year Investment Returns Compared to Actively
                      Managed Benchmarks
                         (as of Dec. 31, 2009)

                              174%–206%
                             greater than
                             CREF returns
6.00%
5.00%
4.00%
3.00%
2.00%
1.00%
0.00%
                             5 Year
               CREF Stock Account   VPMAX        VHCAX



                       CREF Stock Account
        Ten-Year Investment Returns Compared to Actively
                      Managed Benchmarks
                         (as of Dec. 31, 2009)
                                               3130%–5790%
                                               greater than
                                             CREF returns


6.00%
5.00%
4.00%
3.00%
2.00%
1.00%
0.00%
                            10 Year
               CREF Stock Account   VPMAX        VHCAX


                                   43
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       96.   Despite the consistent underperformance, the CREF Stock Account,

with an expense ratio of 46 bps as of December 31, 2014, was more expensive than

better performing actively managed alternatives: Vanguard Diversified Equity (Inv)

(40 bps), Vanguard PRIMECAP (Adm) (35 bps), and Vanguard Capital Opp. (Adm)

(40 bps).

       97.   Besides this abysmal long-term underperformance of the CREF Stock

Account compared to both index funds and actively managed funds, the fund was

recognized as imprudent in the industry. In March 2012, an independent

investment consultant, AonHewitt, recognized the imprudence of the CREF Stock

Account and recommended to its clients that they remove this fund from their

retirement plans. AonHewitt, TIAA-CREF Asset Management, InBrief, at 3 (July

2012).22 This recommendation was made due to numerous factors, including the

historical underperformance, high turnover of asset management executives and

portfolio managers, and the over 60 separate underlying investment strategies,

greatly reducing the fund’s ability to generate excess returns over any substantial

length of time. Id. at 4–5. Defendants have even used an AonHewitt affiliate as a

Plan consultant, yet the CREF Stock Account remains in the Plans.

       98.   The Supreme Court has recently and unanimously ruled that ERISA

fiduciaries have “a continuing duty to monitor investments and remove imprudent

ones[.]” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1829 (2015). In contrast to the

conduct of prudent fiduciaries, Defendants failed to conduct a prudent process to


 22Available at http://system.nevada.edu/Nshe/?LinkServID=82B25D1E-9128-6E45-
1094320FC2037740.
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monitor the CREF Stock Account and continues to retain the fund despite its

continuing to underperform lower-cost investment alternatives that were readily

available to the Plans.

       99.    Prudent fiduciaries of defined contribution plans continuously monitor

the investment performance of plan options against applicable benchmarks and

peer groups to identify underperforming investments. Based on this process,

prudent fiduciaries replace those imprudent investments with better-performing

and reasonably priced options.

       100.   Defendants’ imprudent and disloyal inclusion and retention of the

CREF Stock Account caused the Plans to lose over $242 million compared to what

the Plans would have earned had the same amount of assets instead been invested

in certain of the prudent lower-cost alternatives identified above.23

       B.     Defendants imprudently and disloyally retained the TIAA Real
              Estate Account.

       101.   Defendants selected and continue to include the TIAA Real Estate

Account as one of the real estate investment options in the Plans. The fund has far

greater fees than are reasonable, has historically underperformed, and continues to

consistently underperform comparable real estate investment alternatives,

including the Vanguard REIT Index (Instl) (VGSNX).




 23 Plan losses have been brought forward to the present value using the investment
returns of the lower-cost alternatives to compensate participants who have not been
reimbursed for their losses.
                                           45
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       102.   With an expense ratio of 87 bps as of December 31, 2014, the TIAA

Real Estate Account is also over 10 times more expensive than the Vanguard REIT

Index (Instl), which has an expense ratio of 8 bps.


                         TIAA Real Estate Account
            Expense Ratio Compared to REIT Index Fund (VGSNX)

                              87 bps
                                            TIAA Expense 988% Higher than
       90
                                            REIT Index Fund
       80
       70
       60
       50
       40
       30                                                    8 bps
       20
       10
        0
                 TIAA Real Estate                     VGSNX
 Basis Points
                     Account
    (bps)



       103.   The TIAA Real Estate Account had a long history of substantial

underperformance relative to the Vanguard REIT Index over the one-, five-, and

ten-year periods ending December 31, 2009.24 Despite this, Defendants selected and

to date has retained it in the Plans.




 24 The return of the investor share class was used for ten-year performance because the
institutional share class was not offered until December 2, 2003. The return since inception
for the Vanguard REIT Index (Instl) was 5.49%.
                                             46
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                    TIAA Real Estate Account
             One-Year Investment Returns Compared to
                    REIT Index Fund (VGSNX)
                          (as of Dec. 31, 2009)
                                            208%
                                           greater
   40%                                   than TIAA
                                          returns
   30%
   20%
   10%
    0%
   -10%
   -20%
   -30%
   -40%
                                1 Year
                 TIAA Real Estate Account         VGSNX


                    TIAA Real Estate Account
            Five-Year Investment Returns Compared to
                    REIT Index Fund (VGSNX)
                         (as of Dec. 31, 2009)
                                                143%
                                               greater
    1.00%                                    than TIAA
                                              returns
    0.50%

    0.00%

   -0.50%

   -1.00%

   -1.50%

   -2.00%
                                   5 Year
                 TIAA Real Estate Account         VGSNX



                                  47
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                              TIAA Real Estate Fund
                     Ten-Year Investment Returns Compared to
                            REIT Index Fund (VGSNX)
                                 (as of Dec. 31, 2009)
                                                239%
                                               greater
                                             than TIAA
                                              returns
             12%


              7%


              2%
                                   10 Year
                        TIAA Real Estate Account      VGSNX


      104.   This underperformance continued for years before 2009 and has

continued after 2009. The TIAA Real Estate Account significantly underperformed

the Vanguard REIT Index (Instl) over the one-, five-, and ten-year periods ending

December 31, 2014.




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                          TIAA Real Estate Account
                One-, Five-, and Ten-Year Investment Returns
                  Compared to REIT Index Fund (VGSNX)
                                 (as of Dec. 31, 2014)
                    148% greater
                     than TIAA
                      returns


       29%

                                            46% greater
       24%                                   than TIAA
                                              returns
       19%
                                                              79% greater
                                                               than TIAA
       14%
                                                                returns

        9%


        4%
                    1 Year               5 Year             10 Year
                       TIAA Real Estate Account          VGSNX


      105.   As the Supreme Court unanimously ruled in Tibble, prudent

fiduciaries of defined contribution plans continuously monitor plan investment

options and replace imprudent investments. Tibble, 135 S. Ct. at 1829. In contrast,

Defendants failed to conduct such a process and continue to retain the TIAA Real

Estate Account as an investment option in the Plans, despite its continued dramatic

underperformance and far higher cost than available investment alternatives.

      106.   Defendants’ imprudent and disloyal inclusion and retention of the

TIAA Real Estate Account caused the Plans to lose nearly $60 million compared to

what the Plans would have earned had the same amount of assets instead been

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invested in the lower-cost and better-performing Vanguard REIT Index (Instl) from

August 17, 2010 to date.25

                       ERISA’S FIDUCIARY STANDARDS

       107.   ERISA imposes strict fiduciary duties of loyalty and prudence upon

Defendants as the fiduciaries of the Plans. 29 U.S.C. §1104(a)(1), states, in relevant

part, that:

       [A] fiduciary shall discharge his duties with respect to a plan solely in the
       interest of the participants and beneficiaries and –

              (A)   for the exclusive purpose of:

                     (i) providing benefits to participants and their
              beneficiaries; and
                     (ii) defraying reasonable expenses of administering the
              plan; [and]

              (B)   with the care, skill, prudence, and diligence under the
                    circumstances then prevailing that a prudent man acting
                    in a like capacity and familiar with such matters would
                    use in the conduct of an enterprise of like character and
                    with like aims.

       108.   Under 29 U.S.C. §1103(c)(1), with certain exceptions not relevant here,

              the assets of a plan shall never inure to the benefit of any
              employer and shall be held for the exclusive purposes of
              providing benefits to participants in the plan and their
              beneficiaries and defraying reasonable expenses of
              administering the plan.




 25Losses in the Plans have been brought forward to the present value using the
investment returns of the Vanguard REIT Index (Instl) to compensate participants who
have not been reimbursed for their losses.
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      109.   Under ERISA, fiduciaries that exercise any authority or control over

plan assets, including the selection of plan investments and service providers, must

act prudently and solely in the interest of participants in the plan.

      110.   ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries.

29 U.S.C. §1105(a) provides a cause of action against a fiduciary for knowingly

participating in a breach by another fiduciary and knowingly failing to cure any

breach of duty. The statute states, in relevant part, that:

             In addition to any liability which he may have under any other
             provisions of this part, a fiduciary with respect to a plan shall be
             liable for a breach of fiduciary responsibility of another fiduciary
             with respect to the same plan in the following circumstances:

                    (1)    if he participates knowingly in, or knowingly
                           undertakes to conceal, an act or omission of such
                           other fiduciary, knowing such act or omission is a
                           breach; [or]

                    (2)    if, by his failure to comply with section 1104(a)(1) of
                           this title in the administration of his specific
                           responsibilities which give rise to his status as a
                           fiduciary, he has enabled such other fiduciary to
                           commit a breach; or

                    (3)    if he has knowledge of a breach by such other
                           fiduciary, unless he makes reasonable efforts under
                           the circumstances to remedy the breach.

      111.   29 U.S.C. §1132(a)(2) authorizes a plan participant to bring a civil

action to enforce a breaching fiduciary’s liability to the plan under 29 U.S.C. §1109.

Section 1109(a) provides in relevant part:



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             Any person who is a fiduciary with respect to a plan who
             breaches any of the responsibilities, obligations, or duties
             imposed upon fiduciaries by this subchapter shall be personally
             liable to make good to such plan any losses to the plan resulting
             from each such breach, and to restore to such plan any profits of
             such fiduciary which have been made through use of assets of
             the plan by the fiduciary, and shall be subject to such other
             equitable or remedial relief as the court may deem appropriate,
             including removal of such fiduciary.

                         CLASS ACTION ALLEGATIONS

      112.   29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the

Plans to bring an action individually on behalf of the Plans to enforce a breaching

fiduciary’s liability to the Plans under 29 U.S.C. §1109(a).

      113.   In acting in this representative capacity and to enhance the due

process protections of unnamed participants and beneficiaries of the Plans, as an

alternative to direct individual actions on behalf of the Plans under 29 U.S.C.

§1132(a)(2) and (3), Plaintiffs seek to certify this action as a class action on behalf of

all participants and beneficiaries of the Plans. Plaintiffs seek to certify, and to be

appointed as representatives of, the following class:

      All participants and beneficiaries of the Retirement Plan for Officers of
      Columbia University and the Columbia University Voluntary
      Retirement Savings Plan from August 17, 2010 through the date of
      judgment, excluding the Defendants.

      114.   This action meets the requirements of Rule 23 and is certifiable as a

class action for the following reasons:

             a.     The Class includes over 27,000 individuals and is so large that

      joinder of all its members is impracticable.


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       b.     There are questions of law and fact common to this Class

 because Defendants owed fiduciary duties to the Plans and to all participants

 and beneficiaries and took the actions and omissions alleged herein as to the

 Plans and not as to any individual participant. Thus, common questions of

 law and fact include the following, without limitation: who are the fiduciaries

 liable for the remedies provided by 29 U.S.C. §1109(a); whether the

 fiduciaries of the Plans breached their fiduciary duties to the Plans; what are

 the losses to the Plans resulting from each breach of fiduciary duty; and what

 Plan-wide equitable and other relief the court should impose in light of

 Defendants’ breach of duty.

       c.     Plaintiffs’ claims are typical of the claims of the Class because

 each Plaintiff was a participant during the time period at issue in this action

 and all participants in the Plans were harmed by Defendant’s misconduct.

       d.     Plaintiffs are adequate representatives of the Class because they

 was a participant in the Plans throughout the Class period, has no interest

 that is in conflict with the Class, is committed to the vigorous representation

 of the Class, and has engaged experienced and competent attorneys to

 represent the Class.

       e.     Prosecution of separate actions for these breaches of fiduciary

 duties by individual participants and beneficiaries would create the risk of

 (A) inconsistent or varying adjudications that would establish incompatible

 standards of conduct for Defendants in respect to the discharge of their


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        fiduciary duties to the Plans and personal liability to the Plans under 29

        U.S.C. §1109(a), and (B) adjudications by individual participants and

        beneficiaries regarding these breaches of fiduciary duties and remedies for

        the Plans would, as a practical matter, be dispositive of the interests of the

        participants and beneficiaries not parties to the adjudication or would

        substantially impair or impede those participants’ and beneficiaries’ ability to

        protect their interests. Therefore, this action should be certified as a class

        action under Rule 23(b)(1)(A) or (B).

        115.   A class action is the superior method for the fair and efficient

adjudication of this controversy because joinder of all participants and beneficiaries

is impracticable, the losses suffered by individual participants and beneficiaries

may be small, it would be impracticable for individual members to enforce their

rights through individual actions, and the common questions of law and fact

predominate over individual questions. Given the nature of the allegations, no class

member has an interest in individually controlling the prosecution of this matter,

and Plaintiffs are aware of no difficulties likely to be encountered in the

management of this matter as a class action. Alternatively, then, this action may be

certified as a class under Rule 23(b)(3) if it is not certified under Rule 23(b)(1)(A) or

(B).

        116.   Plaintiffs’ counsel, Schlichter, Bogard & Denton LLP, will fairly and

adequately represent the interests of the Class and is best able to represent the

interests of the Class under Rule 23(g).


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       a.     Schlichter, Bogard & Denton has been appointed as class

 counsel in 15 other ERISA class actions regarding excessive fees in large

 defined contribution plans. As a district court in one of those cases recently

 observed: “the firm of Schlichter, Bogard & Denton ha[s] demonstrated its

 well-earned reputation as a pioneer and the leader in the field”. Abbott v.

 Lockheed Martin Corp., No. 06-701, 2015 U.S.Dist.LEXIS 93206 at 4 (S.D. Ill.

 July 17, 2015). Other courts have made similar findings: “It is clear to the

 Court that the firm of Schlichter, Bogard & Denton is preeminent in the

 field” “and is the only firm which has invested such massive resources in this

 area.” George v. Kraft Foods Global, Inc., No. 08-3799, 2012 U.S.Dist.LEXIS

 166816 at 8 (N.D. Ill. June 26, 2012). “As the preeminent firm in 401(k) fee

 litigation, Schlichter, Bogard & Denton has achieved unparalleled results on

 behalf of its clients.” Nolte v. Cigna Corp., No. 07-2046, 2013 U.S.Dist.LEXIS

 184622 at 8 (C.D. Ill. Oct. 15, 2013). “Litigating this case against formidable

 defendants and their sophisticated attorneys required Class Counsel to

 demonstrate extraordinary skill and determination.” Beesley v. Int’l Paper

 Co., No. 06-703, 2014 U.S.Dist.LEXIS 12037 at 8 (S.D. Ill. Jan. 31, 2014).

       b.     The U.S. District Court Judge G. Patrick Murphy recognized the

 work of Schlichter, Bogard & Denton as exceptional:

       Schlichter, Bogard & Denton’s work throughout this litigation
       illustrates an exceptional example of a private attorney general
       risking large sums of money and investing many thousands of
       hours for the benefit of employees and retirees. No case had
       previously been brought by either the Department of Labor or
       private attorneys against large employers for excessive fees in a

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       401(k) plan. Class Counsel performed substantial work[,]
       investigating the facts, examining documents, and consulting
       and paying experts to determine whether it was viable. This
       case has been pending since September 11, 2006. Litigating the
       case required Class Counsel to be of the highest caliber and
       committed to the interests of the participants and beneficiaries
       of the General Dynamics 401(k) Plans.

 Will v. General Dynamics Corp., No. 06-698, 2010 U.S.Dist.LEXIS 123349 at

 8–9 (S.D.Ill. Nov. 22, 2010).

       c.     Schlichter, Bogard & Denton handled the only full trial of an

 ERISA excessive fee case, resulting in a $36.9 million judgment for the

 plaintiffs that was affirmed in part by the Eighth Circuit. Tussey v. ABB,

 Inc., 746 F.3d 327 (8th Cir. 2014). In awarding attorney’s fees after trial, the

 district court concluded that “Plaintiffs’ attorneys are clearly experts in

 ERISA litigation.” Tussey v. ABB, Inc., No. 06-4305, 2012 U.S.Dist.LEXIS

 157428 at 10 (W.D. Mo. Nov. 2, 2012). Following remand, the district court

 again awarded Plaintiffs’ attorney’s fees, emphasizing the significant

 contribution Plaintiffs’ attorneys have made to ERISA litigation, including

 educating the Department of Labor and federal courts about the importance

 of monitoring fees in retirement plans.

       Of special importance is the significant, national contribution
       made by the Plaintiffs whose litigation clarified ERISA
       standards in the context of investment fees. The litigation
       educated plan administrators, the Department of Labor, the
       courts and retirement plan participants about the importance of
       monitoring recordkeeping fees and separating a fiduciary’s
       corporate interest from its fiduciary obligations.




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       Tussey v. ABB, Inc., 2015 U.S.Dist.LEXIS 164818 at 7–8 (W.D. Mo. Dec. 9,

       2015).

                d.   Schlichter, Bogard & Denton is also class counsel in and handled

       Tibble v. Edison Int’l, 135 S. Ct. 1823, 1829 (2015), in which the Supreme

       Court held in a unanimous 9–0 decision that ERISA fiduciaries have “a

       continuing duty to monitor investments and remove imprudent ones[.]”

       Schlichter, Bogard & Denton successfully petitioned for a writ of certiorari,

       and obtained amicus support from the United States Solicitor General and

       AARP, among others. Given the Court’s broad recognition of an ongoing

       fiduciary duty, the Tibble decision will affect all ERISA defined contribution

       plans.

                e.   The firm’s work in ERISA excessive fee class actions has been

       featured in the New York Times, Wall Street Journal, NPR, Reuters, and

       Bloomberg, among other media outlets. See, e.g., Anne Tergesen, 401(k) Fees,

       Already Low, Are Heading Lower, WALL ST. J. (May 15, 2016);26 Gretchen

       Morgenson, A Lone Ranger of the 401(k)’s, N.Y. TIMES (Mar. 29, 2014);27 Liz

       Moyer, High Court Spotlight Put on 401(k) Plans, WALL ST. J. (Feb. 23,

       2015);28 Floyd Norris, What a 401(k) Plan Really Owes Employees, N.Y.




 26  Available at http://www.wsj.com/articles/401-k-fees-already-low-are-heading-lower-
1463304601.
  27 Available at http://www.nytimes.com/2014/03/30/business/a-lone-ranger-of-the-401-k-

s.html?_r=0.
  28 Available at http://www.wsj.com/articles/high-court-spotlight-put-on-401-k-plans-

1424716527.
                                            57
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       TIMES (Oct. 16, 2014);29 Sara Randazzo, Plaintiffs’ Lawyer Takes on

       Retirement Plans, WALL ST. J. (Aug. 25, 2015);30 Jess Bravin and Liz Moyer,

       High Court Ruling Adds Protections for Investors in 401(k) Plans, WALL ST. J.

       (May 18, 2015); 31 Jim Zarroli, Lockheed Martin Case Puts 401(k) Plans on

       Trial, NPR (Dec. 15, 2014);32 Mark Miller, Are 401(k) Fees Too High? The

       High-Court May Have an Opinion, REUTERS (May 1, 2014);33 Greg Stohr,

       401(k) Fees at Issue as Court Takes Edison Worker Appeal, BLOOMBERG (Oct.

       2, 2014).34

                                        COUNT I

                     Breach of Duties of Loyalty and Prudence

                        Unreasonable Administrative Fees

       117.   Plaintiffs restate and incorporate the allegations in the preceding

paragraphs.

       118.   The scope of the fiduciary duties and responsibilities of these

Defendants include discharging their duties with respect to the Plans solely in the

interest of, and for the exclusive purpose of providing benefits to, Plan participants



 29  Available at http://www.nytimes.com/2014/10/17/business/what-a-401-k-plan-really-
owes-employees.html?_r=0.
  30 Available at http://blogs.wsj.com/law/2015/08/25/plaintiffs-lawyer-takes-on-retirement-

plans/.
  31 Available at http://www.wsj.com/articles/high-court-ruling-adds-protections-for-

investors-in-401-k-plans-1431974139.
  32 Available at http://www.npr.org/2014/12/15/370794942/lockheed-martin-case-puts-401-

k-plans-on-trial.
33 Available at http://www.reuters.com/article/us-column-miller-401fees-

idUSBREA400J220140501.
  34 Available at http://www.bloomberg.com/news/articles/2014-10-02/401-k-fees-at-issue-as-

court-takes-edison-worker-appeal.
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and beneficiaries, defraying reasonable expenses of administering the Plans, and

acting with the care, skill, prudence, and diligence required by ERISA.

      119.   If a defined contribution plan overpays for recordkeeping services due

to the fiduciaries’ “failure to solicit bids” from other recordkeepers, the fiduciaries

have breached their duty of prudence. See George v. Kraft Foods Global, Inc., 641

F.3d 786, 798–99 (7th Cir. 2011). Similarly, “us[ing] revenue sharing to benefit [the

plan sponsor and recordkeeper] at the Plan’s expense” while “failing to monitor and

control recordkeeping fees” and “paying excessive revenue sharing” is a breach of

fiduciary duties. Tussey, 746 F.3d at 336.

      120.   Defendants failed to engage in a prudent and loyal process for selecting

a recordkeeper. Rather than consolidating the Plans’ administrative and

recordkeeping services under a single service provider, Defendants retained two

recordkeepers to provide recordkeeping services. This failure to consolidate the

recordkeeping services eliminated the Plans’ ability to obtain the same services at a

lower cost with a single recordkeeper. This conduct was a breach of the duties of

loyalty and prudence.

      121.   Moreover, Defendants failed to solicit competitive bids from vendors on

a flat per-participant fee. Defendants allowed the Plans’ recordkeepers to receive

asset-based revenue sharing and hard dollar fees, but failed to monitor those

payments to ensure that only reasonable compensation was received for the services

provided to the Plans. As the amount of assets grew, the revenue sharing payments

to the Plans’ recordkeepers grew, even though the services provided by the


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recordkeepers remained the same. This caused the recordkeeping compensation

paid to the recordkeepers to exceed a reasonable fee for the services provided. This

conduct was a breach of the duties of loyalty and prudence.

      122.     Total losses to the Plans will be determined after complete discovery in

this case and are continuing.

      123.     Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plans any losses to the Plans resulting from the breaches of fiduciary

duties alleged in this Count and are subject to other equitable or remedial relief as

appropriate.

                                       COUNT II

                    Breach of Duties of Loyalty and Prudence

   Unreasonable Investment Management Fees and Performance Losses

      124.     Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      125.     The scope of Defendants’ fiduciary duties and responsibilities includes

managing the assets of the Plans for the sole and exclusive benefit of participants

and beneficiaries of the Plans, defraying reasonable expenses of administering the

Plans, and acting with the care, skill, diligence, and prudence required by ERISA.

Defendants are responsible for ensuring that the Plans’ fees are reasonable,

selecting prudent investment options, evaluating and monitoring the Plans’

investments on an ongoing basis and eliminating imprudent ones, and taking all

necessary steps to ensure that the Plans’ assets are invested prudently.



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      126.   As the Supreme Court recently confirmed, ERISA’s “duty of prudence

involves a continuing duty to monitor investments and remove imprudent ones[.]”

Tibble, 135 S. Ct. at 1829.

      127.   Defendants selected and retained for years as Plan investment options

mutual funds and insurance company variable annuities with high expenses and

poor performance relative to other investment options that were readily available to

the Plans at all relevant times.

      128.   Rather than consolidating the Plans’ 116 investment options into a

core investment lineup in which prudent investments were selected for a given

asset class and investment style, as is the case with most defined contribution

plans, Defendants retained multiple investment options in each asset class and

investment style, thereby depriving the Plans of their ability to qualify for lower

cost share classes of certain investments, while violating the well-known principle

for fiduciaries that such a high number of investment options causes participant

confusion. In addition, because Defendants as fiduciaries are held to the standard of

a prudent financial expert, Katsaros v. Cody, 744 F.2d 270, 279 (2d Cir. 1984), they

knew or should have known that providing numerous actively managed duplicative

funds in the same investment style would produce a “shadow index” return while

paying much higher fees than an index fund, thereby resulting in significant

underperformance. The Plans’ investment offerings included the use of mutual

funds and variable annuities with expense ratios far in excess of other lower-cost

options available to the Plans. These lower-cost options included lower-cost share


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class mutual funds with the identical investment manager and investments, lower-

cost insurance company variable annuities and insurance company pooled separate

accounts. In so doing, Defendants failed to make investment decisions based solely

on the merits of the investment funds and what was in the interest of participants.

Defendants therefore failed to discharge their duties with respect to the Plans solely

in the interest of the participants and beneficiaries and for the exclusive purpose of

providing benefits to participants and their beneficiaries and defraying reasonable

expenses of administering the Plans. Therefore, Defendants breached their

fiduciary duty of loyalty under 29 U.S.C. §1104(a)(1)(A).

      129.   The same conduct by Defendants shows a failure to discharge their

duties with respect to the Plans with the care, skill, prudence, and diligence under

the circumstances then prevailing that a prudent man acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of like

character and with like aims. Defendants therefore breached their fiduciary duty of

prudence under 29 U.S.C. §1104(a)(1)(B).

      130.   Defendants failed to engage in a prudent process for the selection and

retention of investment options for the Plans. Rather, Defendants used more

expensive funds with inferior historical performance compared to other investments

that were readily available to the Plans.

      131.   CREF Stock Account: Defendants selected and retained the CREF

Stock Account despite its excessive cost and historical underperformance compared

to actively managed investments with similar underlying asset allocations.


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      132.     TIAA Real Estate Account: Defendants selected and retained the TIAA

Real Estate Account for the real estate investment in the Plans despite its excessive

fees and historical underperformance compared to lower-cost real estate

investments.

      133.     Had a prudent and loyal fiduciary conducted a prudent process for the

retention of investment options, it would have concluded that the Plans’ investment

options were retained for reasons other than the best interest of the Plans and their

participants and were causing the Plans to lose tens of millions of dollars of

participants’ retirement savings in excessive and unreasonable fees and

underperformance relative to prudent investment options available to the Plans.

      134.     Total losses to the Plans will be determined after complete discovery in

this case and are continuing.

      135.     Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plans any losses to the Plans resulting from the breaches of fiduciary

duties alleged in this Count and are subject to other equitable or remedial relief as

appropriate.

                                      COUNT III

                           Failure to Monitor Fiduciaries

      136.     Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      137.     A monitoring fiduciary must ensure that the monitored fiduciaries are

performing their fiduciary obligations, including those with respect to plans fees



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and investments, and must take prompt and effective action to protect the plan and

participants if necessary.

      138.   Defendant Columbia University had the responsibility to monitor the

Vice President of Human Resources in its capacity as the Plans’ fiduciary and

Administrator, to determine whether it had fulfilled its fiduciary duties in

managing the operation and administration of the Plans.

      139.   To the extent the Administrator delegated any of its fiduciary

responsibilities to another individual or entity, the Administrator had a duty to

monitor its delegee to ensure that any delegated tasks were being performed

prudently and loyally.

      140.   Defendants breached their fiduciary monitoring duties by, among other

things:

             a.     Failing to monitor their appointees and co-fiduciaries, to

      evaluate their performance, or to have a system in place for doing so, and

      standing idly by as the Plans suffered enormous losses as a result of its

      appointees’ imprudent actions and omissions with respect to the Plans;

             b.     Failing to monitor their appointees’ and co-fiduciaries’ process

      for reviewing and monitoring the Plans’ fees and investments, which would

      have alerted any prudent fiduciary to the potential breaches of fiduciary

      duties because of the Plans’ excessive administrative and investment

      management fees and consistently underperforming investments;

             c.     Failing to ensure that their appointees and monitored


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      fiduciaries had a prudent process in place for evaluating the Plans’

      administrative fees and ensuring that the fees were competitive, including a

      process to identify and determine the amount of all sources of compensation

      to the Plans’ recordkeepers and the amount of any revenue sharing

      payments; a process to prevent the recordkeepers from receiving revenue

      sharing that would increase the recordkeepers’ compensation to unreasonable

      levels even though the services provided remained the same; and a process to

      periodically obtain competitive bids to determine the market rate for the

      services provided to the Plans;

             d.     Failing to ensure that their appointees and monitored

      fiduciaries considered the ready availability of comparable and better

      performing investment options that charged significantly lower fees and

      expenses than the Plans’ investments;

             e.     Failing to remove appointees whose performance was

      inadequate in that they continued to maintain imprudent, excessively costly,

      and poorly performing investments, all to the detriment of Plan participants’

      retirement savings.

      141.   Had Defendants discharged their fiduciary monitoring duties

prudently as described above, the Plans would not have suffered these losses.

Therefore, as a direct result of the breaches of fiduciary duty alleged herein, the

Plans lost hundreds of millions of dollars of retirement savings.




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                               JURY TRIAL DEMANDED

      142.       Pursuant to Fed.R.Civ.P. 38 and the Constitution of the United States,

Plaintiffs demand a trial by jury.

                                 PRAYER FOR RELIEF

        For these reasons, Plaintiffs, on behalf of the Plans and all similarly

situated Plan participants and beneficiaries, respectfully request that the Court:

                 Find and declare that Defendants breached their fiduciary duties as

                  described above;

                 Find and adjudge that Defendants are personally liable to make good

                  to the Plans all losses to the Plans resulting from each breach of

                  fiduciary duty, and to otherwise restore the Plans to the position they

                  would have occupied but for the breaches of fiduciary duty;

                 Determine the method by which losses to the Plans under 29 U.S.C.

                  §1109(a) should be calculated;

                 Order Defendants to provide all accountings necessary to determine

                  the amounts Defendants must make good to the Plans under

                  §1109(a);

                 Remove the fiduciaries who have breached their fiduciary duties and

                  enjoin them from future ERISA violations;

                 Surcharge against Defendants and in favor of the Plans all amounts

                  involved in any transactions which such accounting reveals were

                  improper, excessive, or in violation of ERISA;

                 Require Defendants to include only prudent investments;
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             Require Defendants to obtain bids for recordkeeping and to pay only

              reasonable recordkeeping expenses;

             Certify the Class, appoint Plaintiffs as class representatives, and

              appoint Schlichter, Bogard & Denton LLP as Class Counsel;

             Award Plaintiffs and the Class their attorney’s fees and costs under

              29 U.S.C. §1132(g)(1) and the common fund doctrine;

             Order the payment of interest to the extent it is allowed by law; and

             Grant other equitable or remedial relief as the Court deems

              appropriate.



August 17, 2016                       Respectfully submitted,

                                      /s/ Andrew D. Schlichter
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